74 F.3d 1233NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Christopher M. PALMER, Plaintiff--Appellant,v.PROPERTY CONTROL DEPARTMENT STAFF;  Mailroom Staff;  J.Horton, Mailroom Supervisor, Keen Mountain CorrectionalCenter;  C. Rambo, Property Room Supervisor, Keen MountainCorrectional Center, Defendants--Appellees.
    No. 95-7427.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 14, 1995.Decided Jan. 24, 1996.
    
      Christopher M. Palmer, Appellant Pro Se.  Pamela Anne Sargent, Assistant Attorney General, Richmond, Virginia, for Appellees.
      Before ERVIN, Chief Judge, and WIDENER and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the magistrate judge's order denying his discovery motion and granting Appellees' motion for a protective order.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This court may exercise jurisdiction only over final orders, 28 U.S.C. Sec. 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. Sec. 1292 (1988);  Fed.R.Civ.P. 54(b);  Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      3
      DISMISSED.
    
    